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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF LOUISIANA

   IN RE:                              )                Chapter 7
                                       )
   REILLY-BENTON COMPANY, INC.         )                Case No. 17-12870
                                       )
   DEBTOR                              )                Section A
   ____________________________________)

        EX PARTE UNOPPOSED MOTION FOR ENTRY OF PROTECTIVE ORDER

          NOW INTO COURT, through undersigned counsel, come the Roussel & Clement

   Creditors, who move this Court to enter the attached Protective Order regarding exhibits 3 and 4

   to the Roussel & Clement Creditors’ Motion for Summary Judgment that the Proceeds of the

   Insurance Policies Issued by Liberty Mutual Insurance Company and Employer’s Mutual Fire

   Insurance Company to Reilly-Benton Company, Inc. Covering Reilly-Renton Company, Inc.’s

   Contracting Activities Are Not Property of the Estate and their Motion for Summary Judgment

   That the Automatic Stay Does Not Apply to Liberty Mutual Insurance Company and Employer’s

   Mutual Fire Insurance Company, the Roussel & Clement Creditors. Of note, this Court has

   already granted the Roussel & Clement Creditors Motion to Seal Exhibits 3 and 4.1 The Roussel

   & Clement Creditors circulated a proposed Protective Order to the parties receiving notice

   through ECF system. Counsel for the Century Parties requested certain revisions to the

   Protective Order, which were made, and the revised Protective Order was again circulated to the

   parties receiving notice through ECF system. No party has objected to or requested revisions to



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   the attached Protective Order.

          WHEREFORE, the Roussel & Clement Credtiors pray that the Motion for Entry of

   Protective Order is granted.

          Dated: August 22, 2022.

                                                Respectfully submitted,
                                                ROUSSEL & CLEMENT

                                                S/ Jonathan B. Clement
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                                                ATTORNEYS FOR ROUSSEL & CLEMENT
                                                CREDITORS

                                    CERTIFICATE OF SERVICE

           I certify that on this the 22nd day of August, 22, a copy of the foregoing was provided to
   counsel for the Debtor, the Office of the United States Trustee for the Eastern District of
   Louisiana, any party that has requested notice pursuant to Bankruptcy Rule 2002, and the parties
   participating in this Court’s CM/ECF filing system.

                                                                          S/ Jonathan B. Clement
                                                                         JONATHAN B. CLEMENT




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